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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION


In Re Lipitor (Atorvastatin Calcium) Marketing         MDL No. 2502
Sales Practices and Products Liability Litigation      2:14-mn-02502-RMG
(No II)




THIS DOCUMENT RELATES TO:

Hempstead v. Pfizer, Inc.,                             NOTICE OF APPEAL
Case No. 2:14-cv-01879




        PLEASE TAKE NOTICE that plaintiff Juanita Hempstead appeals to the United

States Court of Appeals for the Fourth Circuit from each and every part of the final judgment

entered on December 29, 2016 [Hempstead Dkt. No. 110], Case Management Order No. 97,

entered on December 29, 2016 [MDL Dkt. No. 1791], and from all prior and subsequent

opinions, orders, and rulings adverse to plaintiff.


Dated: January 27, 2017                               Respectfully submitted,


                                                       /s/ H. Blair Hahn
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